Case 3:20-cv-00132-RGJ          Document 89        Filed 01/12/21      Page 1 of 4 PageID #: 2027




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                  LOUISVILLE DIVISION

                                                                               Electronically Filed

  THE HONORABLE ORDER OF                          )
  KENTUCKY COLONELS, INC.                         )
                                                  )
         PLAINTIFF                                )
                                                  )
                                                  )
  v.                                              ) CIVIL ACTION NO. 3:20-cv-132-RGJ
                                                  )
  KENTUCKY COLONELS                               )
  INTERNATIONAL, et al.                           )
                                                  )
                                                  )
         DEFENDANTS                               )


             PLAINTIFF’S REPLY IN SUPPORT OF MOTION TO STRIKE
          DEFENDANT’S MOTION FOR DECLARATORY JUDGMENT [DE 84]

        Defendant David J. Wright incorrectly contends that the Plaintiff, The Honorable Order of

 Kentucky Colonels, Inc. (“HOKC”), must respond to his seventh motion to dismiss because it

 “more than meets the criteria that has been set out by the Sixth Circuit for when a court should

 consider a motion for declaratory relief.” [Defendant’s Response and Objection to Plaintiff’s

 Motion to Strike Motion for Declaratory Judgment Document 82 [DE 85] (“Defendant’s

 Response”), PageID #1998]. Wright further argues that the motion is worthy of consideration

 because it “is the most efficient way to settle this controversy and end the dispute before the Court

 to dispose of the case.” [Id. at PageID #1999]. Both of those assertions are patently false. Wright’s

 latest dismissal motion is both procedurally and substantively defective, and HOKC should not be

 required to respond to Wright’s continued harassment.
Case 3:20-cv-00132-RGJ          Document 89        Filed 01/12/21     Page 2 of 4 PageID #: 2028




                                            ARGUMENT

        I.      WRIGHT’S MOTION IS PROCEDURALLY IMPROPER.

        Wright misinterprets and confuses both the federal declaratory judgment statute and the

 rules on dispositive motion practice claiming that his motion should be granted because HOKC is

 a “trademark bully” and that the “facts and statutory law” show that this action should not have

 been brought “in the first place.” [Id. at PageID #1998]. He continues to assert that he is entitled

 to an uncontested judgment dismissing HOKC’s claims because “the motivations of [HOKC] are

 to distort history, dominate a limited marketing channel, ambiguate itself with a generic and merely

 descriptive term as its trademark, eliminate potential competition and usurp the rights of others

 that came before them.” [Id.]. Wright’s proclamation completely ignores the Court’s ruling that

 HOKC has already shown a likelihood of success on both its trademark infringement claim and

 its anticybersquatting claim. [8/13/20 Order [DE 58], PageID #1224-1227].

        If Wright wishes to file an action seeking declaratory relief in accordance with 28 U.S.C.

 § 2201, that is his prerogative. However, he must utilize the appropriate procedural mechanism

 for doing so such that HOKC can appropriately respond, conduct discovery, and proceed with

 defending that spurious claim in the manner contemplated by the federal rules. Contrary to

 Wright’s assertions, there is no factual or legal basis for the Court to summarily accept his warped

 version of reality. HOKC should not be required to respond to his latest, improper, premature, and

 misguided attempt to derail this litigation.

        II.     WRIGHT’S MOTION EXCEEDS THE PAGE LIMITATION IN THE
                LOCAL RULES OF PRACTICE.

        As previously stated, HOKC realizes that the Court may be inclined to grant Wright

 reasonable leeway on procedural matters. But submitting a motion which exceeds the page limit




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Case 3:20-cv-00132-RGJ          Document 89       Filed 01/12/21      Page 3 of 4 PageID #: 2029




 by forty-five (45) pages cannot be considered reasonable leeway. 1 Pro se status notwithstanding,

 Wright is responsible for following the same rules that apply to all other litigants. His motion and

 memorandum which are more than double the allowable page limit should be stricken.

        III.    WRIGHT’S REQUEST THAT THE COURT TAKE JUDICIAL NOTICE
                OF CERTAIN FACTS IS IMPROPER.

        Wright’s motion is based on “facts” that are allegedly reflected in his Statement of Facts

 Under Oath in Support of Declaratory Judgment [DE 82-3]. Wright expects the Court to accept

 statements made without personal knowledge, consider legal and factual arguments that are

 unsupported by the record, and accept his summaries and characterizations of the evidence without

 challenge. Obviously, that is not the way things work. HOKC should not be required to explain

 the litigation process to Wright. Moreover, HOKC should not be required to attempt to respond

 to a motion that is so procedurally and substantively flawed that a meaningful response is almost

 impossible. 2 Wright’s Motion for Declaratory Judgment [DE 82] including his Statement of Facts

 Under Oath in Support of Declaratory Judgment [DE 82-3] should be stricken from the record.

                                          CONCLUSION

        The purpose of Wright’s excessive and frivolous motion practice is clear – harassment.

 HOKC should not be required to respond to one baseless dismissal motion after another. For the




 1
   HOKC notes that the Court’s Instructions for Filing a General Motion Pro Se in the United States
 District Court for the Western District of Kentucky have not been updated to reflect the 2018
 amendments of Joint General Order 2018-02. While the current Local Rule 7.1(d) does not allow
 motions and accompanying memoranda to be more than twenty-five (25) pages, the Court’s pro
 se instructions were last revised in October 2010 and cite the prior rule, which allowed supporting
 memoranda up to forty (40) pages without leave of court. Even under a generous application of
 the previous rule, the instant sixty-five (65) page motion and memorandum are patently excessive.
 2
  Wright’s request to the Court for a “recommendation” on how to proceed [DE 82, PageID # 1842
 and DE 85, PageID #2000] is wholly improper. In fact, the Court’s pro se handbook clearly
 admonishes litigants to refrain from such requests.
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Case 3:20-cv-00132-RGJ          Document 89        Filed 01/12/21      Page 4 of 4 PageID #: 2030




 reasons stated herein, and its original motion, Wright’s motion for a declaratory judgment [DE 82]

 and the supporting memorandum and “statement of facts” should be stricken from the record.



                                               Respectfully submitted,


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                                  CERTIFICATE OF SERVICE

        I hereby certify that on January 12, 2021, I electronically filed the foregoing with the Clerk
 of the Court by using the CM/ECF system. I further certify that a true and correct copy of the
 foregoing has been served upon the following, via electronic mail, on the 12th day of January,
 2021:

  David J. Wright
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